Case 3:15-cr-02586-GPC     Document 91      Filed 05/12/16    PageID.436   Page 1 of 10



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  8                        UNITED STATES DISTRICT COURT

  9                      SOUTHERN DISTRICT OF CALIFORNIA
 10    UNITED STATES OF AMERICA,                     CASE NO. 15cr2586-GPC
 11                                   Plaintiff,     ORDER DENYING DEFENDANTS’
             v.                                      MOTION TO DISMISS
 12                                                  INDICTMENT UNDER THE
                                                     COURT’S SUPERVISORY
 13    JARIS JESUS TORRES-ITURRE (1);                POWERS
       JOSE UBER ESTUPINAN-
 14    CARABALI (2); ASCENCION                       [Dkt. No. 37.]
       ROJAS-BOLANOS (3),
 15
                                  Defendants.
 16
 17
            On January 11, 2016, Defendant Ascencion Rojas-Bolanos (“Defendant” or
 18
      “Rojas”) filed a motion to dismiss the indictment under the Court’s supervisory powers.
 19
      (Dkt. No. 37.) On January 12, 2016, Defendant Jaris Jesus Torres-Iturre (“Torres”)
 20
      filed a motion for joinder. (Dkt. No. 38.) At a hearing held on January 22, 2016,
 21
      Defendant Jose Uber Estupinan-Carabali (“Estupinan”) moved orally to join in the
 22
      motion which has since been withdrawn following his guilty plea on April 21, 2016.
 23
      (Dkt. No. 80.)
 24
            The government filed an opposition. (Dkt. No. 42.) Defendant filed a reply on
 25
      January 21, 2016, and the government filed a sur-reply on January 22, 2016. (Dkt.
 26
      Nos. 46, 47.) An evidentiary hearing was held on April 21, 2016. (Dkt. No. 78.)
 27
      Patrick Bumatay, Esq. and Emily P. Reuter, Esq. appeared on behalf of the government.
 28
      (Id.) Ellis Johnston, Esq. appeared on behalf of Defendant Estupinan, Robert Garcia,

                                                   -1-                             [15cr2586-GPC]
Case 3:15-cr-02586-GPC     Document 91     Filed 05/12/16   PageID.437    Page 2 of 10



  1 Esq. appeared on behalf of Defendant Torres, and John Lemon, Esq. appeared on

  2 behalf of Defendant Rojas. (Id.) Following the hearing, the Court took the matter
  3 under submission. Based upon the pleadings, evidence submitted and arguments of
  4 counsel, the motion to dismiss based upon the Court’s supervisory powers is DENIED.
  5                                   BACKGROUND

  6         On September 5, 2015, a military patrol aircraft (“MPA”) spotted a suspected
                  1
  7 go-fast vessel (“vessel”) traveling in a northerly direction about 128 nautical miles
  8 southwest of the Costa Rica/Panama border, in international waters in the Eastern
  9 Pacific Ocean. The MPA continued to observe the vessel which was observed
 10 jettisoning objects overboard. During this observation, the United States Coast Guard
 11 (“USCG”) Cutter BERTHOLF was notified and diverted to intercept the vessel. The
 12 BERTHOLF launched its helicopter and two small boat teams. One small boat team
 13 returned to the BERTHOLF after having experienced a breakdown.
 14       The MPA directed the helicopter to the vessel. The helicopter hailed the vessel,
 15 which failed to stop. The helicopter was authorized to utilize and employed three
 16 stitches of warning shots. After determining that the warning shots were ineffective,
 17 the helicopter employed five precision shots to the engine which caused the vessel to
 18 stop. Once stopped, a USCG team from the BERTHOLF arrived on-scene in a small
 19 boat and observed the three Defendants aboard the vessel. Defendant Torres claimed
 20 to be the master of the vessel and made a verbal claim of Ecuadorian nationality for the
 21 vessel. Defendants claimed Colombian nationality for themselves. Torres stated that
 22 he and the crew had initially been contracted as fisherman and were later forced at
 23 gunpoint to transport the contraband.
 24      The USCG team searched the vessel and found no contraband. The small boat

 25 team recovered thirteen (13) bales of suspected contraband from the debris fields where
 26 Defendants were seen jettisoning the packages. The 13 recovered bales contained
 27
            1
           Go-fast vessels are boats that travel at high rates of speed and are preferred
 28 vehicles for drug and alien smuggling operations. United States v. Perlaza, 439 F.3d
    1149, 1153 n.2 (9th Cir. 2006).
                                               -2-                                [15cr2586-GPC]
Case 3:15-cr-02586-GPC     Document 91     Filed 05/12/16   PageID.438     Page 3 of 10



  1 bricks that consisted of about 711 kilograms of a white powdery substance that

  2 field-tested positive for cocaine.
  3        On September 5, 2015, pursuant to an agreement between the United States and

  4 Ecuador, the United States requested that the government of Ecuador confirm the
  5 vessel’s registry, and if confirmed, grant authorization to stop, board and search the
  6 vessel. On the same day, the government of Ecuador responded that it could neither
  7 confirm nor refute the vessel’s registry. The government determined the vessel to be
                                                                           2
  8 without nationality or stateless pursuant to 46 U.S.C. § 70502(d)(1)(C) and subject to
                                                                        3
  9 United States jurisdiction pursuant to 46 U.S.C. § 70502(c)(1)(A).
 10         On September 8, 2015, the case was assigned to the Southern District of
 11 California for prosecution and Special Agent Justin Faw (“Special Agent Faw”) of the
 12 Drug Enforcement Administration (“DEA”) was assigned the responsibility of
 13 coordinating the transportation of the crewmembers to the United States for
 14 prosecution. Special Agent Faw understood that Defendants needed to be transported
 15 to the Southern District of California as quickly as reasonably possible and began to
 16 coordinate their transportation with the USCG and DEA.
 17         Special Agent Faw contacted the DEA air wing for a DEA aircraft and learned
 18 that the DEA aircraft capable of transporting Defendants to San Diego was in
 19 maintenance and would be unavailable until on or around September 15, 2015. Due
 20 to safety concerns and flight schedules, he concluded that commercial airlines transport
 21 was not an option. Special Agent Faw also contacted the USCG and learned that (1)
 22 no USCG maritime vessel was available to transport Defendants to San Diego within
 23 a reasonable timeframe and (2) that a USCG C130 aircraft might be able to transport
 24 Defendants on September 28, 2015. Special Agent Faw also contacted the United
 25
            2
            The term “‘vessel without nationality’ includes . . . (C) a vessel aboard which
 26 the master or individual in charge makes a claim of registry and for which the claimed
    nation of registry does not affirmatively and unequivocally assert that the vessel is of
 27 its nationality.” 46 U.S.C. § 70502(d)(1)(C).
 28         3
             The term “‘vessel subject to the jurisdiction of the United States’ includes--
      (A) a vessel without nationality. . . .” 46 U.S.C. § 70502(c)(1)(A).
                                               -3-                                 [15cr2586-GPC]
Case 3:15-cr-02586-GPC     Document 91     Filed 05/12/16    PageID.439    Page 4 of 10



  1 States Marshals Service and learned that the earliest transport of Defendants from

  2 Panama or Guatemala would take 90-180 days to coordinate. On September 17, 2015,
  3 Special Agent Faw was advised that the USCG CUTTER ACTIVE would be available
  4 to transport the Defendants to San Diego with an expected arrival date of September
  5 25th or 26th. Given the means of transportation available, Special Agent Faw arranged
  6 for Defendants to be transported to San Diego on the ACTIVE.
  7       Defendants arrived in San Diego, California on September 26, 2015. On

  8 October 6, 2016, Defendants were indicted on two counts for conspiracy to distribute
  9 cocaine on board a vessel in violation of 46 U.S.C. §§ 70503, 70506(b), and conspiracy
 10 to distribute cocaine intended for unlawful importation in violation of 21 U.S.C. §§
 11 959, 960, and 963.
 12         On October 8, 2015, Defendants pleaded not guilty to the two count indictment.
 13 On January 11, 2016, Defendant Rojas filed a motion to dismiss indictment based upon
 14 the Court’s supervisory powers. On January 22, 2016, the Court granted Torres’
 15 motion for joinder in Rojas‘ motion.
 16                                   DISCUSSION
 17         Defendants move to dismiss the indictment under the Court’s supervisory power
 18 arguing that the government’s willful failure to comply with Federal Rule of Civil
 19 Procedure (“Rule”) 5's presentment requirement, combined with the deplorable
 20 conditions of confinement for the defendants, is a straightforward due-process violation
 21 warranting dismissal. The government responds that it took reasonable steps to
 22 transport Defendants to San Diego, that any delay was not unreasonable, conditions of
 23 confinement were adequate and dismissal of the indictment is an unavailable remedy
 24 for the violation of Rule 5.
 25 A.     Delay in Presentment Under Rule 5

 26         The federal rules require that an arresting officer bring a defendant to court for
 27 his initial appearance before a magistrate judge “without unnecessary delay.” Fed. R.
 28 Crim. P. 5(a)(1)(A). The Supreme Court has held in a number of cases that the remedy

                                               -4-                                 [15cr2586-GPC]
Case 3:15-cr-02586-GPC     Document 91      Filed 05/12/16   PageID.440    Page 5 of 10



  1 for a Rule 5 violation is the suppression of evidence obtained as a result of a violation,

  2 not dismissal of the indictment. See, e.g., Corley v. United States, 556 U.S. 303, 323
  3 (2009). The Ninth Circuit has upheld denials of motions to dismiss an indictment for
  4 presentment violations, finding dismissal an unavailable remedy. Bayless v. United
  5 States, 381 F.2d 67, 70-71 (9th Cir. 1967) (rejecting dismissal as an appropriate remedy
  6 despite a four-month delay in presentment); United States v. Studley, 783 F.2d 934, 937
  7 n. 2 (9th Cir. 1986) (“[T]he normal remedy for violation of Rule 5(a) is suppression of
  8 evidence obtained during the unreasonable delay[.]”).
  9         Meanwhile, district courts in maritime drug cases have also recognized that a
 10 violation of Rule 5 does not justify dismissal of an indictment. See United States v.
 11 Savchenko, 201 F.R.D. 503, 509 (S.D. Cal. 2001) (Rule 5 “is not a general remedial
 12 statute, but rather a rule designed to deal with a particular problem by applying an
 13 evidentiary     sanction.”);   United    States   v. Gonzalez-Corredor,       Case     No.
 14 12-cr-2550-DMS, Dkt. Nos. 54, 67 at 151 (S.D. Cal. Dec. 13, 2012) (a 19-day delay
 15 found not unreasonable, recognizing the “monumental undertaking” involved in
 16 coordinating the “safe yet efficient” transportation of defendants apprehended in
 17 international waters near Panama). In Savchenko, the court noted, “[w]hereas 16 days
 18 might be deemed unreasonable for the delay in a first appearance concerning an arrest
 19 at the International Border with Mexico, some 16 miles south of the courthouse, the 16
 20 days is more than reasonable for the transport of the fishing vessel from the high seas
 21 approximately 500 nautical miles from Mexico to this district under these facts and
 22 circumstances.” 201 F.R.D. at 506. As stated in Savchenko, “even if the delay in
 23 transport of the defendants from the high seas to the district court were found
 24 unnecessary or unreasonable, those facts alone would not justify dismissal since that
 25 is not a sanction available under Rule 5.” Id. at 509.
 26         United States v. Osunde, 638 F. Supp. 171, 176-77 (N.D. Cal. 1986), is the only
 27 case where a district court has dismissed an indictment with prejudice as a remedy for
 28 violation of Rule 5. However, in Osunde, defendant was arrested at the Los Angeles

                                                -5-                                [15cr2586-GPC]
Case 3:15-cr-02586-GPC     Document 91     Filed 05/12/16   PageID.441    Page 6 of 10



  1 International Airport and was kept in custody for 106 days before a complaint was

  2 filed. The court found that the passage of 106 days between the defendant's arrest and
  3 his first appearance before the magistrate judge was, without a doubt, a grossly
  4 unnecessary delay and warranted dismissal of the charges. The Osunde Court
  5 acknowledged the extreme and unprecedented nature of its actions. Id. (“Although
  6 never imposed in this circuit, the remedial sanction of dismissal has been contemplated
  7 for flagrant unnecessary delays in bringing an arrested person before a magistrate. The
  8 106–day delay which occurred in the matter at bar would appear to present the
  9 appropriate facts warranting dismissal.”) (citation omitted).
 10         Unlike Osunde, the delay in the instant case was 21 days and not 106 days.
 11 Moreover, Osunde was arrested and detained within the district where he was charged.
 12 Here, Defendants were arrested 2439 nautical miles from San Diego, California where
 13 there were few options to transport them to San Diego, the place of prosecution. In
 14 addition, there was no unreasonable delay in the probable cause determination
 15 following the Defendants’ arrival in San Diego. Defendants arrived in San Diego on
 16 Saturday, September 26, 2015, when a complaint was sent to Magistrate Judge Barbara
 17 Major via email and then signed on Monday, September 28, 2015.
 18 B.      Delay in Presentment - Court’s Supervisory Powers to Remedy Delay
 19         In addition, Defendants argue that the Court should dismiss the indictment as an
 20 exercise of its supervisory powers because dismissal would remedy both the delay in
 21 this case and possible delays in the future. Defendants argue that the Rule 5 violation
 22 was willful as demonstrated by logbooks produced in discovery which reflect that the
 23 detainees were swapped back and forth between two Coast Guard cutters, BERTHOLF
 24 and ACTIVE, three times before finally being brought to court. Defendants assert that
 25 this occurred during a four-month window in which Coast Guard vessels (including
 26 BERTHOLF and ACTIVE) made 24 seizures, totaling 25 tons of cocaine and, thus, it
 27 is reasonable to infer that the Coast Guard prioritizes narcotics enforcement over
 28 compliance with the Federal Rules of Criminal Procedure.

                                               -6-                                [15cr2586-GPC]
Case 3:15-cr-02586-GPC      Document 91     Filed 05/12/16    PageID.442     Page 7 of 10



  1         The Ninth Circuit has articulated three legitimate bases for dismissing
  2 prosecutions: “(1) to implement a remedy for the violation of a recognized statutory or
  3 constitutional right; (2) to preserve judicial integrity by ensuring that a conviction rests
  4 on appropriate considerations validly before a jury; and (3) to deter future illegal
  5 conduct.” United States v. Matta-Ballesteros, 71 F.3d 754, 763 (9th Cir. 1995), opinion
  6 amended on other grounds on denial of reh’g, 98 F.3d 1100 (9th Cir. 1996) (citations
  7 omitted).      To obtain dismissal for some government misconduct, including
  8 pre-indictment delay, there must be a showing of “outrageous conduct” which violates
  9 the defendant's due process rights under the Fifth Amendment, or a violation of some
 10 other substantive right such as the Speedy Trial Act. See United States v. DiGregorio,
 11 795 F.Supp. 630, 634 (S.D.N.Y. 1992) (citing United States v. Russell, 411 U.S. 423
 12 (1973)). A district court may dismiss an indictment under its supervisory powers “only
 13 when the defendant suffers substantial prejudice, and where no lesser remedial action
 14 is available.” United States v. Minero-Rojas, No. 11CR3253 BTM, 2011 WL 5925220,
 15 at *9 (S.D. Cal. Nov. 3, 2011) (citing United States v. Chapman, 524 F.3d 1073, 1087
 16 (9th Cir. 2008)).
 17         In this case, Defendants’ vessel was found approximately 2439 nautical miles
 18 from San Diego, California. (Complaint, Dkt. No. 1.) The drug seizure was made by
 19 the USCG and the prosecution was then assigned to the DEA. DEA Special Agent Faw
 20 exhausted a number of options before deciding on the ACTIVE to transport
 21 Defendants to San Diego. Given the limited alternatives, 21 days to transport
 22 Defendants to San Diego was a reasonable period of time and does not support a claim
 23 of “outrageous conduct”.
 24         Moreover, while Defendants argue that dismissal would help deter future delay,
 25 they have failed to demonstrate that their case was prejudiced in any way by the delay.
 26 Because there has been no showing of substantial prejudice as a product of the delay,
 27 dismissal is improper under the Court’s supervisory powers.
 28 ///

                                                 -7-                                 [15cr2586-GPC]
Case 3:15-cr-02586-GPC     Document 91     Filed 05/12/16   PageID.443    Page 8 of 10



  1   C.     Conditions of Confinement - Outrageous Government Conduct
  2        Defendants assert that the manner in which they were confined aboard the USCG
  3 cutters warrants dismissal. (Rojas Mot. at 5-6, Dkt. No. 37-1.) The government has
  4 addressed this argument as a due process claim of outrageous )governmental conduct.
  5          “[T]he manner by which a defendant is brought to trial does not affect the
  6 government’s ability to try him.” Matta-Ballesteros, 71 F.3d at 762 (citing Ker v.
  7 Illinois, 119 U.S. 436, 444 (1886), and Frisbie v. Collins, 342 U.S. 519, 522 (1952)).
  8 An exception to this general principle exists when the government’s conduct is “so
  9 grossly shocking and so outrageous as to violate the universal sense of justice.” United
 10 States v. Ramirez, 710 F.2d 535, 539 (9th Cir. 1983). Defendant bears the burden of
 11 proving that the government’s conduct was “so excessive, flagrant, scandalous,
 12 intolerable, and offensive as to violate due process.” United States v. Edmonds, 103
 13 F.3d 822, 825 (9th Cir. 1996) (quoting United States v. Garza–Juarez, 992 F.2d 896,
 14 904 (9th Cir. 1993)); United States v. Lazarevich, 147 F.3d 1061, 1065 (9th Cir. 1998)
 15 (finding the evidence in equipoise, the district judge was required to rule against the
 16 defendant). No Ninth Circuit opinion has approved dismissal of an indictment based
 17 on claim of outrageous conduct regarding conditions of confinement. No federal
 18 appellate court nationwide has dismissed an MDLEA case based on treatment of
 19 defendants aboard U.S. Coast Guard or U.S. Navy ships.
 20          To succeed on a motion to dismiss, Defendants must make “a strong showing of
 21 grossly cruel and unusual barbarities inflicted upon him by persons who can be
 22 characterized as paid agents of the United States.” Matta-Ballesteros, 71 F.3d at 764.
 23 In Matta-Ballesteros, the defendant alleged that, while being transported bound and
 24 hooded to a U.S. Air Force Base, he was beaten and burned with a stun gun at the
 25 direction of the Marshals. Id. at 761. The Ninth Circuit held that, even taking those
 26 “disturbing” circumstances as true, the defendant failed to meet the “rigorous standard”
 27 of demonstrating governmental misconduct “of the most shocking and outrageous
 28 kind.” Id. at 764. Accordingly, it held that, “much as we may want to dismiss this case

                                               -8-                                [15cr2586-GPC]
Case 3:15-cr-02586-GPC     Document 91     Filed 05/12/16   PageID.444    Page 9 of 10



  1 through an exercise of our supervisory powers, to do so would be unwarranted.” Id.

  2 at 764-65.
  3         As evidence of grossly cruel and unusual barbarities, Defendants rely on the
  4 detainee logbook which reveals that: 1) the detainees were permitted showers only
  5 every third or fourth day; 2) while on the ACTIVE, rice and beans were served for
  6 virtually every meal; 3) the detainees complained about the rice and beans and refused
  7 to eat breakfast on at least one occasion because the previous night’s rice and beans
  8 had made them sick; 4) one of the detainees complained that his plastic jumpsuit had
  9 given him a rash. (Dkt. No. 37-2.) In addition, Rojas stated: 1) plastic jumpsuits were
 10 provided and were very uncomfortable and they were not provided with
 11 undergarments; 2) they were shackled by one leg to the deck of the vessel at all times
 12 (they were not given chairs); 3) they slept on a concrete deck (resembling an aircraft
 13 hangar), provided with only thin plastic mats and a blanket; 4) when permitted to
 14 shower, they did so with a hose and with no privacy; 5) their “head” was an aluminum
 15 container resembling a bedpan (also with no privacy); and 6) they had to dispose of
 16 feces and urine by spraying it overboard with a hose. As to Defendants’ time on the
 17 ACTIVE, Rojas states: 1) they were permitted to “shower” only every fourth day; 2)
 18 on one occasion they had to dispose of feces with their hands (using gloves) rather than
 19 the hose; and 3) while their concrete deck still resembled an aircraft hangar, it was
 20 open at one end (lacking the garage-style door of the other vessel), which exposed them
 21 to extreme cold; and 4) the deck was also close to the engines, which would cover them
 22 in soot from the exhaust within a few hours after showering.
 23         The Government also points to the same detainee logbook to demonstrate
 24 Defendants were fed three times a day, including meals such as steak, pizza, chocolate
 25 chip pancakes, and hamburgers; were provided ample water and opportunities for the
 26 restroom and showers; were provided jumpsuits or Tyvek suits; were provided hygienic
 27 items; received medical attention; and were housed with their fellow co-defendants.
 28 (Dkt. No. 37-2.) Government’s Exhibit 5 depicts the conditions of Defendants’ stay

                                               -9-                                [15cr2586-GPC]
Case 3:15-cr-02586-GPC    Document 91     Filed 05/12/16   PageID.445    Page 10 of 10



  1 on board the BERTHOLF, which show mats to sleep on, blankets, toiletries, and

  2 clothing. (Dkt. No. 42-5.) Government’s Exhibit 6 demonstrates the toilet used by
  3 Defendants on the BERTHOLF, which shows that it functionally flushes into the
  4 ocean. (Dkt. No. 42-6) Government’s Exhibit 7 shows the similar conditions aboard
  5 the ACTIVE. (Dkt. No. 42-7.) Government’s Exhibit 8 depicts the privacy afforded
  6 the use of the toilet and shower area onboard the ACTIVE. (Dkt. No. 42-8.)
  7         Assuming the allegations of Defendants Rojas and Torres are true, the four-day
  8 period of length of time between some showers, having to clean a toilet on one
  9 occasion with their gloved hands, exposures to the elements through a garage style
 10 door, spoiled rice and beans on one occasion, and exposure to soot from the engines
 11 cannot be considered “so grossly shocking and so outrageous as to violate the universal
 12 sense of justice.” See United States v. McClelland, 72 F.3d 717, 721 (9th Cir. 1995).
 13                                     CONCLUSION
 14         Based on the above, the Court DENIES Defendants’ motion to dismiss the
 15 indictment based on the Court’s supervisory power.
 16         IT IS SO ORDERED.
 17
 18 DATED: May 12, 2016
 19
                                              HON. GONZALO P. CURIEL
 20                                           United States District Judge
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                                              - 10 -                             [15cr2586-GPC]
